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     Attorneys for Defendants

                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY


      DAVID J. LORENZO,                                        Hon. Claire C. Cecchi, U.S.D.J.
                                                               Hon. José R. Almonte, U.S.M.J.
                             Plaintiff

      vs.                                               Civ. No.: 2:23-CV-21849-CCC-JRA

      THE BOROUGH OF PALISADES                                          A Civil Action
      PARK, NEW JERSEY; CHONG
      PAUL KIM (individually and in his                          NOTICE OF MOTION
      official capacity as Mayor of the                        TO DISMISS PURSUANT TO
      Borough of Palisades Park, New                             FED. R. CIV. P. 12(B)(6)
      Jersey); and SUK “JOHN” MIN
      (Individually and in his official
      capacity as a member of the Borough
      Council of Palisades Park, New Jersey)

                             Defendants.


     To:
            United States District Court                    Richard Malagiere, Esq.
            District of New Jersey-Newark Vicinage          Law Office of Richard Malagiere, P.C.
            Martin Luther King Building &                   250 Moonachie Road, Suite 300A
            U.S. Courthouse                                 Moonachie, New Jersey 07074
            50 Walnut Street                                Attorneys for Plaintiff
            Newark, NJ 07101


             PLEASE TAKE NOTICE that on February 20, 2024, the undersigned, attorneys for

     Defendants, The Borough of Palisades Park, Chong Paul Kim, and Suk “John” Min (“Defendants”)

     will move before the Hon. Claire C. Cecchi, U.S.D.J., pursuant to Fed. R. Civ. P. 12(b)(6) and L.

     Civ. R. 7(m) for an Order dismissing all claims against Defendants for failure to state a claim upon

     which relief can be granted.


                                                                                                  #3283112
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            PLEASE TAKE FURTHER NOTICE that the undersigned shall rely upon the attached

     Brief and Certification of Counsel in support of the within motion; and,

            PLEASE TAKE FURTHER NOTICE that pursuant to Fed. R. Civ. P. 78, oral argument

     is not requested.

             A proposed form of Order is attached hereto.

                                                         Semeraro & Fahrney, LLC
                                                         Attorneys for Defendants



                                                         By:
                                                                 R. Scott Fahrney, Esq.,

     Dated: January 16, 2024
